Case: 1:12-Cv-O4714 Document #: 1-1 Filed: 06/15/12 Page 1 of 14 Page|D #:8

EXHIBIT A

Case: 1:12-Cv-O4714 Document #: 1-1 Filed: 06/15/12 Page 2 of 14 Page|D #:9

Civil A_g,lion Covcr Shcet - Case Initiation

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lN THE C[RCU|T COURT ()F COOI\' COUN'I`Y, lL~LlNOlS

lRev. 4/2|/09) CCL 0520

 

COUNTY DEPARTMENT, LAW DlVlSlON

VV|LL|Al\/| l\/llTCHELL,

P|aintiff

 

|NTRALOX, LLC, a foreign Corporation,

No.

 

 

Defendant

 

CIVIL ACT[ON COVER SHEET - CASE lNl'I`lATlON

A Civi| Action Cover Sheet - Case lnitiation shall be filed with the complaint in
all civil actions. The information contained herein is for administrative
purposes only and cannot be introduced into evidence. Please check the box in
front of the appropriate case type which best characterizes your action. ONLY
ONE ('l) CASE TYPE MAY BE CHECKED WITH THIS COVER SHEET.

Jury Demand -Yes E] No

PERSONAL INJURY/VVRONGFUE DEATH
CASE TYPES:

027
040
047
048
049
051

052
053
061
063
064

065
078
199

EEE EEEEE EIEEUE

Motor Vehicle

Medica| Malpr:\ctice f f

Asbestos

Dram Shop

Product Liabi|ity

Construction lnjuries

(including Structura| Work Act, Road
Construction lnjuries Act and negligence)
Railroad/FELA

Pediatric Lead Exposure

Other Personal lnjury/Wrongful Death
Intentional Tort

Miscel|aneous Statutory Action

(Please Specify Below"’*j_‘

Premises Liability

Fen-phen/Redux Litigation

Silicone lmp|ant ; '":

TAX & MlSCEL-LANEOUS REMED[ES

CASE TYPES:

007
008
009
015
0 l 7
029
036
085
099

EEEEEEEEE

Confession olJudgment

Replevin

'l`ax

Condemnation

Dctinue

Unemployment Compensation
Administrative ReviewAction
Petition to Register Foreign Judgment
All Other Extraordinary Remedies

 

 

 

(FILE s'rAMP)

COMMERC[AL LITIGATION

CASE TYPES:
002
070

07|
072

073
074

DEE E EU

075

l:l 076

E

Breach of Contract
Professional Malpractice
(other than legal or medica|)
Fraud

(other than legal or medica|)
Consumer Fraud

Breach of Warranty
Statutory Action

(`Please S[)ecifv Below **)
Other Commercial Litigation
(Please Specijj) Below’"*)
Retaliatory Discharge

OTHER ACTIONS

cAsE TVPES:
062
066
077
079
084
084
[l 100

UEEEUE

Property Damage

Legal Malpracticc
Libe|/S|andcr

Petition for Qualit`led Orders
l’etition to lssue. Subpoena
Pctition to lssue Subpoena
Petition for Discovery

 

 

W%i%/ '

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(Pro Se)

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IN THE CIRCUIT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

WILLIAM MITCHELL,

Plaintiff,
vs.
No.:

INTRALOX, LLC, a foreign limited liability
company,
Defendants.

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COMPLAINT AT LAW

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NOW COMES the Plaintiff, WILLIAM MITCHELL, by and through his

 

attorneys, RUBERRY, STALMACK & GARVEY, LLC, and complaining of the
Defendants, INTRALOX, LLC, and each of them, and in support thereof, states as

follows:

COUNT l ~ l’ROl)UCT LIABILITY

l. On June 3, 2010, and for some time prior and subsequent thereto, the
Plaintiff, WILLIAM MITCHELL, was a resident of Cook County, State of Illinois and an
employee of United Parcel Service as a maintenance mechanic engineer.

2. That on 0r about June 3, 2010, and prior and Subsequent thereto,
Defendant, INTRALOX, LLC, WaS a limited liability company registered in the State of
Louisiana and doing business in the State of Illinois that designed, manufactured,
produced and Sold Intralox modular plastic conveyor belting.

3. That on June 3, 2010, and prior and Subsequent thereto, the Defendants,

INTRALOX, LLC, Were engaged in the business Of designing, manufacturing, building,

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constructing, assembling, producing, marketing and selling a product known as lntraloz
modular plastic conveyor belts and conveyor belting systems

4. That at all times relevant herein, the Defendants, lNTRALOX, LLC sold,
distributed, and/or placed for retail Sale their interlocking modular plastic conveyor belt
systems to United Parcel Service Chicago Area Consolidated Hub (hereinafter “UPS‘)
where Plaintiff, WILLIAM MITCHELL worked as a maintenance mechanic engineer.

5. That on June 3, 2010, Plaintiff, WlLLIAl\/I MITCHELL was performing
service, maintenance and/or modifications to the Intralox conveyor belt system when he
was caused to slip and fall while on the conveyor system to complete the service.

6. That at all times relevant herein, the Defendants, INTRALOX, LLC owed
a duty of care and had a duty to design, build, construct, inspect, assemble and otherwise

manufacture their conveyor belt products, parts and systems in such a manner so as to

f refrain from inherent defects, dangers and malfunctions that could cause serious injury to

persons such as Plaintiff herein.
7. That notwithstanding their duty as aforesaid, Defendants, INTRALOX,
LLC, breached their duty of care owed to Plaintiff, WILLIAM MITCHELL, as follows:

a. Defendants designed their conveyor belt products, parts and systems
defectively so as to cause it to injure the Plaintiff;

b. Defendants, by their agent and employee, Edward Taylor, did direct, supervise

and control the work that Defendant, INTRALOX wanted Plaintiff to perform
as a maintenance mechanic

c. Defendants failed to construct their conveyor belt products, parts and systems
safely so as to ensure that they would not injure persons Such as Plaintiff;

d. Defendants failed to properly and/or reasonably manufacture their conveyor
belt products, parts and systems so as to ensure that the conveyor belt product
would not injure persons performing service on it such as Plaintiff herein;

 

 

 

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e. Defendants intentionally failed to take the necessary steps in the manufacture,
inspection and production of their conveyor belt products, parts and systems
to ensure that they would injure persons such as Plaintiff;

f. Defendants failed to provide adequate warnings about the inherent dangers of
the conveyor belt products, parts and systems so as to warn of possible injury
to persons such as the Plaintiff herein;

g. Defendants failed to design, manufacture or construct their conveyor systems
with a safety locking mechanism so that service and/or maintenance could be
performed in a safe manner;

h. Defendants failed to provide an access or other design feature to allow manual
service and/or maintenance so as to put persons such as Plaintiff herein at a
great risk for injury in attempting to service, maintain or otherwise modify the
conveyor system;

i. Defendants, were Otherwise negligent in the design, construction,
manufacture, distribution and sales of the conveyor belt products, parts and
systems.

8. That as a direct and proximate result of one or more of the foregoing
negligent and/or intentional acts and/or omissions in the design, production, manufacture
and sale of the by the Defendants, INTRALOX, LLC, the Plaintiff, WILLIAM
MITCHELL was caused to sustain severe and permanent injuries, pain and suffering as
well as to accrue medical expenses, and that plaintiff will continue to suffer damages as a
result of being injured by the product of Defendant, INTRALOX, LLC.

WHEREFORE, Plaintiff, WILLIAM MITCHELL, prays for judgment against the
Defendants, INTRALOX, LLC, in an amount in excess of $50,000.00 (Fifty Thousand

Dollars) plus the costs of this suit.

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C()UNT II - STRICT LIABILITY

 

1-8. Plaintiff hereby restates, adopts, realleges and incorporates by reference
the allegations contained in paragraphs 1-8 of Count I as paragraphs 1-8 of this Count ll
as though fully set forth herein.

9. Prior to June 3, 201(), the Defendant, fNTRALOX, LLC, designed,
manufactured, and sold conveyor belt products, parts and systems to UPS Chir~zwo
Central Hub.

l(). On or about June 3, 201(), the conveyor belt products, parts and systems
designed, manufactured and sold by INTRALOX, LLC to UPS in Chicago were
specifically installed to be used by UPS employees and serviced and maintained by the
maintenance mechanic engineers such as Plaintiff, WILLIAl\/I MITCHELL.

l l. On information and belief, on and prior to June 3, 2010,
the conveyor products, parts and system was not properly manufactured and/or
distributed by Defendants INTRALOX, LLC, to be safe for use by persons intended to
use and/or perform basic service or maintenance on the product.

12. On and prior to June 3, 2010, it was reasonably forseeable that a trained
person such as Plaintiff, WILLIAM MITCHELL, would have to perform basic service or
maintenance on the Intralox conveyor products, parts and systems.

j 13. That in fact, Defendant, INTRALOX, LLC employee and agent Edward
Taylor did specifically direct, supervise and control the work of Plaintiff, WILLIAM

MITCHELL in performing a particular service, maintenance and modification to the

lntralox conveyor product, parts and system at UPS Chicago Central Hub.

 

 

 

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l4. That the risk of severe injury in servicing, maintaining and modifying the
lntralox conveyor product, parts and system was not obvious or apparent to the Plaintiff,
WILLIAM l\/IITCHELL as maintenance mechanic engineer for UPS because he had no
reason to have knowledge that the conveyor would be defective causing him injury.

15. lt was reasonable to expect the manufacturer, Defendant, INTRALOX,
LLC to ensure the conveyor product, parts and system was properly designed and
constructed so that it would not create a danger for injury to persons such as Plaintiff
herein.

l6. As a result, Defendant, INTRALOX, LLC, had a duty to exercise ordinary
and reasonable care to make the conveyor product safe and to guard against the risk of
injury to persons authorized to maintain and use the product such as Plaintiff herein.

l7. On and prior to June 3, 2010, the conveyor product, parts and system was
defective and unreasonably dangerous in one or more of the following ways:

a. The IntraloX conveyor product, parts and System was not properly
designed and constructed for it’s intended use as a conveying mechanism;

b. The Intralox conveyor product, parts and system conveyor product was
defective at the time it left the manufacturer;

c. Defendants failed to provide adequate warnings about the inherent dangers
of the conveyor belt products, parts and systems so as to warn of possible
injury to persons such as the Plaintiff herein;

d. Defendants failed to design, manufacture or construct their conveyor
systems with a safety locking mechanism so that service and/or
maintenance could be performed in a safe manner;

e. Defendants failed to provide an access or other design feature to allow
manual service and/or maintenance so as to put persons such as Plaintiff
herein at a great risk for injury in attempting to service, maintain or
otherwise modify the conveyor system;

 

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18. As a direct and proximate result of one or more ofthe foregoing defective
and unreasonably dangerous conditions, the man-lift in question caused the Plaintiff
WILLIAM MITCHELL to sustain injuries ofa personal and pecuniary nature

19. The aforementioned defective and unreasonably dangerous conditions
were present when the safe left the control of the Defendants, ler`RALOX, IiLCi and
persisted to and including the date of Plaintiffs inj ury.

WHEREFORE, Plaintiff, WILLIAl\/l MITCHELL, prays for judgment against the
Defendants, lNTRALOX, LLC, in an amount in excess of $5(),000.00 (Fifty Thousand
Dollars) plus the costs of this suit.

Respectfully submitted,

RUBERRY, STALMACK & GARVEY, LLC

 

RUBERRY, STALMACK & GARVEY, LLC
Attorneys for Plaintiff
500 W. Madison Street, Suite 2300
Chicago, IL 60661
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Atty. No. 48602

 

 

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IN THE CIRCUIT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION
WILLIAM MITCHELL, )
)
Plaintiff, )
vs. )
) No.: f
) g
INTRALOX, LLC, a foreign limited liability ) §§ 7
COmpan.\/, ) §§ _»
Defendants. ) § 1 "
CoMPLAiNT AT LAW §§
__4

NOW COMES the Plaintiff, WILLlAM MITCHELL, by and through his
attorneys, RUBERRY, STALMACK & GARVEY, LLC, and complaining of the
Defendants, INTRALOX, LLC, and each of them, and in support thereof, states as

follows:

COUNT I - PRODUCT LIABILITY

1. On June 3, 2010, and for some time prior and subsequent thereto, the
Plaintiff, WILLIAM MITCHELL, was a resident of Cook County, State of Illinois and an
employee of United Parcel Service as a maintenance mechanic engineer.

2. That on or about June 3, 2010, and prior and subsequent thereto,
Defendant, INTRALOX, LLC, was a limited liability company registered in the State of
Louisiana and doing business in the State of lllinois that designed, manufactured,
produced and sold Intralox modular plastic conveyor belting.

3. That on June 3, 2010, and prior and subsequent thereto, the Defendants,

INTRALOX, LLC, were engaged in the business of designing, manufacturing, building,

 

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constructing, assembling, producing, marketing and selling a product known as lntraloz
modular plastic conveyor belts and conveyor belting systems.

4. That at all times relevant herein, the Defendants, lNTRALOX, LLC sold,
distributed, and/or placed for retail sale their interlocking modular plastic conveyor belt
systems to United Parcel Service Chicago Area Consolidated Hub (hereinafter “UPS”)
where Plaintiff, WILLIAM MITCHELL worked as a maintenance mechanic engineer.

5. That on June 3, 2010, Plaintiff, WIbLlAM MITCHELL was performing
service, maintenance and/or modifications to the Intralox conveyor belt system when he
was caused to" slip and fall while on the conveyor system to complete the service.

6. That at all times relevant herein, the Defendants, INTRALOX, LLC owed
a duty of care and had a duty to design, build, construct, inspect, assemble and otherwise
manufacture their conveyor belt products, parts and systems in such a manner so as to
refrain from inherent defects, dangers and malfunctions that could cause serious injury to
persons such as Plaintiff herein.

7. That notwithstanding their duty as aforesaid, Defendants, INTRALOX,
LLC, breached their duty of care owed to Plaintiff, WILLIAM MITCHELL, as follows:

a. Defendants designed their conveyor belt products, parts and systems
defectively so as to cause it to injure the Plaintiff;

b. Defendants, by their agent and employee, Edward Taylor, did direct, supervise
::_,and control the work that Defendant, INTRALOX wanted Plaintiff to perform
as a maintenance mechanic.

c. Defendants failed to construct their conveyor belt products, parts and systems
safely so as to ensure that they would not injure persons such as Plaintiff;

d.' 'Defendants failed to properly and/or reasonably manufacture their conveyor
belt products, parts and systems so as to ensure that the conveyor belt product
would not injure persons performing service on it such as Plaintiff herein;

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e. Defendants intentionally failed to take the necessary steps in the manufacture,
inspection and production of their conveyor belt products, parts and systems
to ensure that they would injure persons such as Plaintiff;

f. Defendants failed to provide adequate warnings about the inherent dangers of
the conveyor belt products, parts and systems so as to warn of possible injury
to persons such as the Plaintiff herein;

g. Defendants failed to design, manufacture or construct their conveyor systems
with a safety locking mechanism so that service and/or maintenance could be
performed in a safe manner;

h. Defendants failed to provide an access or other design feature to allow manual
service and/or maintenance so as to put persons such as Plaintiff herein at a
great risk for injury in attempting to service, maintain or otherwise modify the
conveyor system;

i. Defendants, were otherwise negligent in the design, construction,
manufacture, distribution and sales of the conveyor belt products, parts and
Systems.

8. That as a direct and proximate result of one or more of the foregoing
negligent and/or intentional acts and/or omissions in the design, production, manufacture
and sale of the by the Defendants, INTRALOX, LLC, the Plaintiff, WILLIAM
MITCHELL was caused to sustain severe and permanent injuries, pain and suffering as
well as to accrue medical expenses, and that plaintiff will continue to suffer damages as a
result of being injured by the product of Defendant, INTRALOX, LLC.

WHEREFORE, Plaintiff, WILLIAM MITCHELL, prays for judgment against the
Defendants, INTRALOX, LLC, in an amount in excess of $50,000.00 (Fifty Thousand

Dollars) plus the costs of this suit.

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COUNT ll - STRICT LIABILITY

1-8. Plaintiff hereby restates, adopts, realleges and incorporates by reference
the allegations contained in paragraphs 1-8 of Count I as paragraphs 1-8 of this Count ll
as though fully set forth herein.

9. Prior to June 3, 2010, the Defendant, INTRALOX, LLC, designed,
manufactured, and sold conveyor belt products, parts and systems to UPS Chicago
Central Hub.

lO. On or about June 3, 2010, the conveyor belt products, parts and systems
designed, manufactured and sold by INTRALOX, LLC to UPS in Chicago were
specifically installed to be used by UPS employees and serviced and maintained by the
maintenance mechanic engineers such as Plaintiff, WILLIAM MITCHELL.

ll. On information and belief, on and prior to June 3, 2010,
the conveyor products, parts and system was not properly manufactured and/or
distributed by Defendants INTRALOX, LLC, to be safe for use by persons intended to
use and/or perform basic service or maintenance on the product.

12. On and prior to June 3, 2010, it was reasonably forseeable that a trained
person such as Plaintiff, WILLIAM MITCHELL, would have to perform basic service or
maintenance on the Intralox conveyor products, parts and systems.

15 13. That in fact, Defendant, INTRALOX, LLC employee and agent Edward
Tayl'or did specifically direct, supervise and control the work of Plaintiff, WlLLIAM
MITCHELL in performing a particular service, maintenance and modification to the

lntralox conveyor product, parts and system at UPS Chicago Central Hub.

 

 

 

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14. That the risk of severe injury in servicing, maintaining and modifying the
Intralox conveyor product, parts and system was not obvious or apparent to the Plaintiff,
WILLIAM MITCHELL as maintenance mechanic engineer for UPS because he had no
reason to have knowledge that the conveyor would be defective causing him injury.

15. lt was reasonable to expect the manufacturer, Defendant, INTRALOX,
LLC to ensure the conveyor product, parts and system was properly designed and
constructed so that it would not create a danger for injury to persons such as Plaintiff
herein.

16. As a result, Defendant, INTRALOX, LLC, had a duty to exercise ordinary
and reasonable care to make the conveyor product safe and to guard against the risk of
injury to persons authorized to maintain and use the product such as Plaintiff herein.

17. On and prior to June 3, 2010, the conveyor product, parts and system was
defective and unreasonably dangerous in one or more of the following ways:

a. The Intralox conveyor product, parts and system was not properly
designed and constructed for it’s intended use as a conveying mechanism;

b. The Iritralox conveyor product, parts and system conveyor product was
defective at the time it left the manufacturer;

c. Defendants failed to provide adequate warnings about the inherent dangers
of the conveyor belt products, parts and systems so as to warn of possible
injury to persons such as the Plaintiff herein;

d_ Defendants failed to design, manufacture or construct their conveyor
systems with a safety locking mechanism so that service and/or
maintenance could be performed in a safe manner;

e. Defendants failed to provide an access or other design feature to allow
manual service and/or maintenance so as to put persons such as Plaintiff
herein at a great risk for injury in attempting to service, maintain or
otherwise modify the conveyor system;

 

 

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18. As a direct and proximate result of one or more of the foregoing defective
and unreasonably dangerous conditions, the man-lift in question caused the Plaintiff,
WILLIAM MITCHELL to sustain injuries of a personal and pecuniary nature.

19. The aforementioned defective and unreasonably dangerous conditions
were present when the safe left the control of the Defendants, INTRALOX, LLC, and
persisted to and including the date of Plaintiffs injury.

WHEREFORE, Plaintiff, WILLIAM MITCHELL, prays for judgment against the
Defendants, lNTRALOX, LLC, in an amount in excess of $50,000.()0 (Fifty Thousand
Dollars) plus the costs of this suit.

Respectfully submitted,

RUBERRY, STALMACK & GARVEY, LLC

  

:John S. La antia _

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Attorneys for Plaintiff
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(312) 466-8050
_1 Atty. No. 48602

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